                     Case 20-10699-PDR                      Doc 62         Filed 02/02/22              Page 1 of 2



B 2100A (Form 2100A) (12/15)


                         UNITED STATES BANKRUPTCY COURT
                                           For The Southern District of Florida

In re:                                                                  Case No. 20-10699-PDR
HECTOR G VELIZ
MARIA E VELIZ

                            TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

U.S. Bank Trust National Association, as
Trustee of Igloo Series V Trust                                               Kirkland Financial LLC
              Name of Transferee                                                           Name of Transferor

Name and Address where notices to transferee                                 Court Claim # (if known): 4
should be sent:                                                              Amount of Claim: 339,724.57
SN Servicing Corporation                                                     Date of Claim Filed: 03/25/2020
323 Fifth Street
Eureka, CA 95501

Phone: 800-603-0836                                                          Phone: (888) 595-9536
Last Four Digits of Acct #: 3303                                             Last Four Digits of Acct #: 3504

Name and Address where transferee payments
should be sent (if different than above):



Phone:
Last Four Digits of Acct #:


I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By: /s/ Melbalynn Fisher                    ________                                    Date: February 2, 2022
           Transferee/Transferee's Agent

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
                   Case 20-10699-PDR         Doc 62       Filed 02/02/22       Page 2 of 2



B 2100B (Form 2100B) (12/15)


                    UNITED STATES BANKRUPTCY COURT
                                      Southern District of Florida

In re:                                                 Case No. 20-10699-PDR
HECTOR G VELIZ
MARIA E VELIZ

                NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY

Claim No. 4 (if known) was filed or deemed filed under 11 U.S.C. § 1111(a) in this case by the alleged
transferor. As evidence of the transfer of that claim, the transferee filed a Transfer of Claim Other than for
Security in the clerk’s office of this court on ______ (date).

Name of Alleged Transferor:                                     Name of Transferee:
Kirkland Financial LLC                                          U.S. Bank Trust National Association, as
                                                                Trustee of Igloo Series V Trust



Address of Alleged Transferor:                                  Address of Transferee:
P.O. Box 970                                                    SN Servicing Corporation
Goodlettsville, TN 37070                                        323 Fifth Street
                                                                Eureka, CA 95501




                                ~DEADLINE TO OBJECT TO TRANSFER~
    The alleged transferor of the claim is hereby notified that objections must be filed with the court
    within twenty-one (21) days of the mailing of this notice. If no objection is timely received by the
    court, the transferee will be substituted as the original claimant without further order of the court.


    Date: _______                                          ______________________________
                                                           CLERK OF THE COURT
